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   7
       NETLIST, INC.
   8                       UNITED STATES DISTRICT COURT
   9                FOR THE CENTRAL DISTRICT OF CALIFORNIA
  10

  11
                                                 Case No. 8:23-cv-00790-HDV-KES
  12
       MEMBLAZE LIMITED,
  13                                             DEFENDANT NETLIST, INC.’S
                                                 ANSWER TO PLAINTIFF
  14                             Plaintiff,      MEMBLAZE LIMITED’S
       v.                                        COMPLAINT
  15

  16
       NETLIST, INC.,                            DEMAND FOR JURY TRIAL
  17

  18                             Defendant.
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                   DEFENDANT NETLIST, INC.’S ANSWER TO PLAINTIFF’S COMPLAINT
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   1         Defendant Netlist, Inc. (“Netlist”) hereby responds to Plaintiff Memblaze
   2   Limited’s (“Memblaze”) Complaint as follows. The headings and numbered
   3   paragraphs below correspond to the headings and numbered paragraphs of the
   4   Complaint. Any allegations or averments not specifically admitted herein are denied.
   5         1.     Paragraph 1 states conclusions of law as to which no response is
   6   required. To the extent a response is required, Netlist admits that Plaintiff’s pleading
   7   purports to be a Complaint against Defendant Netlist, Inc.
   8                                     INTRODUCTION
   9         2.     Netlist denies the allegations in paragraph 2 of the Complaint.
  10         3.     Netlist admits that it received 3,526 SSDs. Netlist denies that a Purchase
  11   Order contract existed between the parties. As to the remaining allegations in
  12   paragraph 3, Netlist lacks sufficient knowledge or information to form a belief as to
  13   the truth of the allegations, and therefore denies the same.
  14         4.     Netlist denies that a Purchase Order contract existed between the parties.
  15   Netlist admits that it sought to return the SSDs received without a contract, but
  16   alleged that Memblaze refused to accept the return. Netlist lacks sufficient
  17   knowledge or information to form a belief as to the truth of the remining allegations
  18   in paragraph 4 of the complaint, and therefore denies the same.
  19         5.     Netlist denies the allegations in paragraph 5 of the Complaint.
  20         6.     Netlist admits that it has not paid Memblaze for the SSDs received.
  21   Netlist denies the remaining allegations in paragraph 6 of the Complaint.
  22         7.     Paragraph 7 contains conclusions of law as to which no response is
  23   required. To the extent a response is required, Netlist admits that Plaintiff seeks
  24   damages in this case. Netlist denies the remaining allegations in paragraph 7 of the
  25   Complaint.
  26                                          PARTIES
  27         8.     Netlist lacks sufficient knowledge or information to form a belief as to
  28   the truth of the allegations in paragraph 8 of the Complaint, and therefore denies the
                                                 2
                    DEFENDANT NETLIST, INC.’S ANSWER TO PLAINTIFF’S COMPLAINT
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   1   same.
   2           9.    Netlist admits that it is a Delaware corporation. Netlist admits that it
   3   uses the property located at 111 Academy Way, Suite 100, Irvine, California
   4   92617. Except as expressly admitted, Netlist denies the remaining allegations in
   5   paragraph 9 of the Complaint.
   6                               JURISDICTION AND VENUE
   7           10.   Paragraph 10 contains conclusions of law as to which no response is
   8   required. To the extent a response is required, Netlist admits that the Complaint
   9   purports to assert an action that this Court has subject matter jurisdiction over under
  10   28 U.S.C. 1332. Except as expressly admitted, Netlist denies the remaining
  11   allegations in paragraph 10.
  12           11.   Paragraph 11 contains conclusions of law as to which no response is
  13   required. To the extent a response is required, Netlist admits that the Complaint
  14   purports to assert an action that is proper within this venue under 28 U.S.C.
  15   1391. Except as expressly admitted, Netlist denies the remaining allegations in
  16   paragraph 11.
  17                                  FACTUAL BACKGROUND
  18   The Contract
  19           12.   Netlist lacks sufficient knowledge or information to form a belief as to
  20   the truth of the allegations in paragraph 12 of the Complaint, and therefore denies the
  21   same.
  22           13.   Netlist denies that a valid “Purchase Order” existed between Netlist and
  23   Memblaze. Netlist lacks sufficient knowledge or information to form a belief as to
  24   the truth of the allegations in paragraph 13 of the Complaint, and therefore denies the
  25   same.
  26           14.   Netlist denies the allegations in paragraph 14 of the Complaint.
  27           15.   Netlist denies the allegations in paragraph 15 of the Complaint.
  28           16.   Netlist admits that it received 3,526 SSDs. Netlist lacks sufficient
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                     DEFENDANT NETLIST, INC.’S ANSWER TO PLAINTIFF’S COMPLAINT
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   1   knowledge or information to form a belief as to the truth of the remaining allegations
   2   in paragraph 16 of the Complaint, and therefore denies the same.
   3           17.   Netlist denies that a valid “Purchase Order” existed between Netlist and
   4   Memblaze. Netlist lacks sufficient knowledge or information to form a belief as to
   5   the truth of the remaining allegations in paragraph 17 of the Complaint, and therefore
   6   denies the same.
   7   The Dispute
   8           18.   Netlist admits that it sent Memblaze an email on or about July 12, 2022.
   9   Netlist denies that a valid “Purchase Order” existed between Netlist and Memblaze.
  10   Netlist admits that it has made no payment to Memblaze and alleges that it properly
  11   sought to return the SSDs it received but Memblaze refused to accept the return.
  12   Netlist lacks sufficient knowledge or information to form a belief as to the truth of the
  13   remaining allegations in paragraph 18 of the Complaint, and therefore denies the
  14   same.
  15           19.   Netlist admits that it sent Memblaze an email on or about July 28, 2022,
  16   and the email speaks for itself. Netlist lacks sufficient knowledge or information to
  17   form a belief as to the truth of the remaining allegations in paragraph 19 of the
  18   Complaint, and therefore denies the same.
  19           20.   Netlist denies the allegations in paragraph 20 of the Complaint.
  20           21.   Netlist denies the allegations in paragraph 21 of the Complaint.
  21           22.   Netlist denies that a valid “Purchase Order” existed between Netlist and
  22   Memblaze. Netlist admits that it has made no payment to Memblaze and alleges that
  23   it properly sought to return the SSDs it received but Memblaze refused to accept the
  24   return. Netlist lacks sufficient knowledge or information to form a belief as to the
  25   truth of the remaining allegations in paragraph 22 of the Complaint, and therefore
  26   denies the same.
  27           23.   Netlist denies the allegations in paragraph 23 of the Complaint.
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   1                               FIRST CAUSE OF ACTION
   2                                BREACH OF CONTRACT
   3         24.    Netlist repeats and incorporates by reference its responses to the
   4   allegations of the foregoing paragraphs of the Complaint as described above.
   5         25.    Netlist denies the allegations in paragraph 25 of the Complaint.
   6         26.    Netlist denies that a valid “Purchase Order” existed between Netlist and
   7   Memblaze. Netlist admits that it properly sought to return the SSDs it received but
   8   Memblaze refused to accept the return. Netlist denies the remaining allegations in
   9   paragraph 26 of the Complaint.
  10         27.    Netlist denies that a valid “Purchase Order” existed between Netlist and
  11   Memblaze. Netlist admits that it properly sought to return the SSDs it received but
  12   Memblaze refused to accept the return. Netlist denies the remaining allegations in
  13   paragraph 27 of the Complaint.
  14         28.    Netlist denies that a valid “Purchase Order” existed between Netlist and
  15   Memblaze. Netlist admits that it properly sought to return the SSDs it received but
  16   Memblaze refused to accept the return. Netlist lacks sufficient knowledge or
  17   information to form a belief as to the truth of the allegations in paragraph 28 of the
  18   Complaint, and therefore denies the same.
  19         29.    Netlist denies that a valid “Purchase Order” existed between Netlist and
  20   Memblaze. Netlist admits that it properly sought to return the SSDs it received but
  21   Memblaze refused to accept the return. Netlist lacks sufficient knowledge or
  22   information to form a belief as to the truth of the allegations in paragraph 28 of the
  23   Complaint, and therefore denies the same.
  24         30.    Netlist admits that is has not paid for the SSDs it received. Netlist denies
  25   the remaining allegations in paragraph 30 of the Complaint.
  26         31.    Netlist admits that it is not required to accept further SSDs from
  27   Memblaze. Netlist denies the remaining allegations in paragraph 31 of the
  28   Complaint.
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                    DEFENDANT NETLIST, INC.’S ANSWER TO PLAINTIFF’S COMPLAINT
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   1           32.   Netlist denies the allegations in paragraph 32 of the Complaint.
   2           33.   Netlist denies the allegations in paragraph 33 of the Complaint.
   3                              SECOND CAUSE OF ACTION
   4        BREACH OF IMPLIED COVENANT OF GOOD FAITH AND FAIR
   5                                          DEALING
   6           34.   Netlist repeats and incorporates by reference its responses to the
   7   allegations of the foregoing paragraphs of the Complaint as described above.
   8           35.   Netlist denies the allegations in paragraph 35 of the Complaint.
   9           36.   Netlist denies the allegations in paragraph 36 of the Complaint.
  10           37.   Netlist denies the allegations in paragraph 37 of the Complaint.
  11           38.   Paragraph 38 contains conclusions of law and not averments of fact to
  12   which the rules require an answer, but insofar as the rules require an answer, Netlist
  13   lacks sufficient knowledge or information to form a belief as to the truth of the
  14   allegations in paragraph 38 of the Complaint, and therefore denies the same.
  15           39.   Netlist lacks sufficient knowledge or information to form a belief as to
  16   the truth of the allegations in paragraph 39 of the Complaint, and therefore denies the
  17   same.
  18           40.   Netlist denies the allegations in paragraph 40 of the Complaint.
  19           41.   Netlist denies the allegations in paragraph 41 of the Complaint.
  20                               THIRD CAUSE OF ACTION
  21                    COMMON COUNT FOR GOODS DELIVERED
  22           42.   Netlist repeats and incorporates by reference its responses to the
  23   allegations of the foregoing paragraphs of the Complaint as described above.
  24           43.   Paragraph 43 contains conclusions of law to which no response is
  25   required. To the extent a response is required, Netlist denies the allegations in
  26   paragraph 43 of the Complaint.
  27           44.   Netlist admits that it received 3,526 SSDs. Netlist denies the remaining
  28   allegations in paragraph 44 of the Complaint.
                                                  6
                     DEFENDANT NETLIST, INC.’S ANSWER TO PLAINTIFF’S COMPLAINT
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   1           45.   Netlist admits that it has not paid for the SSDs it received. Netlist denies
   2   the remaining allegations in paragraph 45 of the Complaint.
   3           46.   Netlist denies the remaining allegations in paragraph 46 of the
   4   Complaint.
   5                                FOURTH CAUSE OF ACTION
   6                                  PROMISSORY ESTOPPEL
   7           47.   Netlist repeats and incorporates by reference its responses to the
   8   allegations of the foregoing paragraphs of the Complaint as described above.
   9           48.   Netlist admits that paragraph 48 of Plaintiff’s pleading purports that
  10   Plaintiff is seeking recovery under the doctrine of promissory estoppel as an
  11   alternative to its breach of contract claim. Paragraph 48 contains conclusions of law
  12   to which no response is required. To the extent a response is required, Netlist denies
  13   the remaining allegations in paragraph 48 of the Complaint.
  14           49.   Netlist denies the allegations in paragraph 49 of the Complaint.
  15           50.   Netlist denies the allegations in paragraph 50 of the Complaint.
  16           51.   Netlist lacks sufficient knowledge or information to form a belief as to
  17   the truth of the allegations in paragraph 51 of the Complaint, and therefore denies the
  18   same.
  19           52.   Netlist admits that is has not paid for the SSDs it received. Netlist lacks
  20   sufficient knowledge or information to form a belief as to the truth of the allegations
  21   in paragraph 52 of the Complaint, and therefore denies the same.
  22           53.   Netlist lacks sufficient knowledge or information to form a belief as to
  23   the truth of the allegations in paragraph 53 of the Complaint, and therefore denies the
  24   same.
  25           54.   Netlist denies the allegations in paragraph 54 of the Complaint.
  26                                    PRAYER FOR RELIEF
  27           Netlist denies that Plaintiff is entitled to any relief in this Action, as requested
  28   in paragraphs (a) through (d) of Plaintiff’s Prayer for Relief, or otherwise.
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                      DEFENDANT NETLIST, INC.’S ANSWER TO PLAINTIFF’S COMPLAINT
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   1                                AFFIRMATIVE DEFENSES
   2         Further answering the Complaint and as additional defenses thereto, Netlist
   3   asserts the following separate and affirmative defenses (“Affirmative Defenses”). By
   4   alleging the Affirmative Defenses set forth below, Netlist intends no alteration of the
   5   burden of proof and/or burden of going forward with evidence which otherwise exists
   6   with respect to any particular issue at law or in equity. Furthermore, all such defenses
   7   are pled in the alternative, and do not constitute an admission of liability or that
   8   Memblaze is entitled to any relief whatsoever. Netlist reserves the right to raise
   9   additional affirmative defenses as they becomes known to it through discovery or
  10   investigation.
  11                            FIRST AFFIRMATIVE DEFENSE
  12                                  (Failure to State a Claim)
  13         The Complaint, and each allegation therein, fails to state a claim upon which
  14   relief can be granted, in part, because no valid contract existed between the parties.
  15                           SECOND AFFIRMATIVE DEFENSE
  16                                     (Statute of Frauds)
  17         Plaintiff’s claims are barred by the Statute of Frauds.
  18                            THIRD AFFIRMATIVE DEFENSE
  19                                       (Parol Evidence)
  20         To the extent a valid agreement exists, the Complaint fails insofar as it relies on
  21   parol evidence, including the purported “Non-Cancellable, Non-Returnable” or
  22   “NCNR” provision, that is not found in the alleged agreement, in which there is an
  23   “Entire Agreement” provision.
  24                           FOURTH AFFIRMATIVE DEFENSE
  25                               (Commercial Impracticability)
  26         Defendant had no obligation to perform under the alleged agreement due to
  27   commercial impracticability.
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                    DEFENDANT NETLIST, INC.’S ANSWER TO PLAINTIFF’S COMPLAINT
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   1                             FIFTH AFFIRMATIVE DEFENSE
   2                                  (Frustration of Purpose)
   3         Defendant had no obligation to perform under the alleged agreement due to
   4   frustration of purpose.
   5                             SIXTH AFFIRMATIVE DEFENSE
   6                                    (Failure to Mitigate)
   7         Plaintiff’s right to recovery, if any, must be offset by its failure to reasonably
   8   mitigate its alleged losses.
   9                          SEVENTH AFFIRMATIVE DEFENSE
  10                                   (Equitable Doctrines)
  11         Plaintiff’s purported claims are barred, in whole or in part, by the equitable
  12   doctrines of unclean hands, laches, waiver, mistake, and estoppel, including but not
  13   limited to Memblaze’s refusal to accept the return of SSDs that it shipped without a
  14   valid contract between the parties.
  15                      CONCLUSION AND PRAYER FOR RELIEF
  16         WHEREFORE, Netlist prays for judgment that:
  17         a.     The Complaint is dismissed in its entirety with prejudice;
  18         b.     That the Court adjudicate and declare that no valid contract existed
  19                between the parties;
  20         c.     That Netlist be awarded its attorneys’ fees and costs in this action; and,
  21         d.     Netlist be awarded such other and further relief as the Court deems just
  22                and proper.
  23

  24    DATED: June 29, 2023                   GLASER WEIL FINK HOWARD
                                                JORDAN & SHAPIRO LLP
  25

  26
                                               By: /s/ Lawrence M. Hadley
  27                                               LAWRENCE M. HADLEY
  28
                                                    Attorneys for Defendant Netlist, Inc.
                                                  9
                     DEFENDANT NETLIST, INC.’S ANSWER TO PLAINTIFF’S COMPLAINT
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    1                               DEMAND FOR JURY TRIAL
    2         In accordance with Fed. R. Civ. P. 38(b) and L.R. 38-1, Defendant Netlist
    3   hereby demands a trial by jury in this action on all issues so triable.
    4

    5    DATED: June 29, 2023                    GLASER WEIL FINK HOWARD
                                                  JORDAN & SHAPIRO LLP
    6

    7
                                                 By: /s/ Lawrence M. Hadley
    8                                                LAWRENCE M. HADLEY
    9
                                                     Attorneys for Defendant Netlist, Inc.
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                     DEFENDANT NETLIST, INC.’S ANSWER TO PLAINTIFF’S COMPLAINT
